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                                                                                         1    TUCKER ELLIS LLP
                                                                                              David J. Steele - SBN 209797
                                                                                         2    david.steele@tuckerellis.com
                                                                                              Howard A. Kroll - SBN 100981
                                                                                         3    howard.kroll@tuckerellis.com
                                                                                              Steven E. Lauridsen - SBN 246364
                                                                                         4    steven.lauridsen@tuckerellis.com
                                                                                              515 South Flower Street
                                                                                         5    Forty-Second Floor
                                                                                              Los Angeles, CA 90071
                                                                                         6    Telephone: 213.430.3400

                                                                                         7    Attorneys for Plaintiffs, META PLATFORMS, INC. f/k/a
                                                                                              FACEBOOK, INC. and INSTAGRAM, LLC
                                                                                         8

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                                                                                                                           UNITED STATES DISTRICT COURT
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                                                                                                                        NORTHERN DISTRICT OF CALIFORNIA
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                                                                                              FACEBOOK, INC. and INSTAGRAM, LLC,                Case No. 3:19-cv-07071-SI
                                                                                         12
                                                                                                                  Plaintiffs,                   PLAINTIFFS’ NOTICE OF MOTION AND
                                                                                         13                                                     MOTION FOR DEFAULT JUDGMENT
TUCKER ELLIS LLP




                                                                                                    v.                                          AGAINST ALL DEFENDANTS;
                                                                                         14
                                                                                            ONLINENIC INC., DOMAIN ID SHIELD        MEMORANDUM OF POINTS AND
                                                                                         15 SERVICE CO., LIMITED, and XIAMEN 35.COM AUTHORITIES IN SUPPORT OF MOTION
                                                                                            INTERNET TECHNOLOGY CO., LTD.,
                                                                                         16                                         Date:      April 19, 2024
                                                                                                              Defendants.           Time:      10:00 a.m.
                                                                                         17                                         Courtroom: 1 – 17th Floor

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                                                                                                                                                Hon. Susan Illston
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                                                                                                                    MOTION FOR DEFAULT JUDGMENT AND MEMORANDUM IN SUPPORT OF MOTION
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                                                                                         1                    NOTICE OF MOTION AND STATEMENT OF RELIEF SOUGHT
                                                                                         2           TO ALL PARTIES AND THEIR RESPECTIVE COUNSEL OF RECORD:

                                                                                         3           PLEASE TAKE NOTICE that on April 19, 2024 at 10:00 a.m., or as soon thereafter as this matter

                                                                                         4    may be heard, in the courtroom of the Honorable Susan Illston of the United States District Court for the

                                                                                         5    Northern District of California, located at 450 Golden Gate Avenue, Courtroom 1 – 17th Floor, San

                                                                                         6    Francisco, CA 94102, Plaintiffs Meta Platforms, Inc. and Instagram, LLC (“Plaintiffs”) will and hereby

                                                                                         7    do move for entry of default judgment jointly and severally against Defendants OnlineNIC, Inc., Domain

                                                                                         8    ID Shield Service Co., Ltd., and Leascend Technology Co., Ltd. f/k/a Xiamen 35.com Internet Technology

                                                                                         9    Co., Ltd. (“Defendants”) pursuant to Fed. R. Civ. P. 55(b)(2), including statutory damages, attorneys’ fees

                                                                                              and costs, and a permanent injunction.
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                                                                                         11          Specifically, Plaintiffs request default judgment as follows:

                                                                                         12          1.      Defendants registered, trafficked in, or used 35 domain names that are identical or

                                                                                         13   confusingly similar to Plaintiffs’ trademarks with a bad faith intent to profit in violation of the
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                                                                                         14   Anticybersquatting Consumer Protection Act (“ACPA”), 15 U.S.C. § 1125(d). Plaintiffs are awarded

                                                                                         15   $3,135,000 in statutory damages against Defendants for cybersquatting on Plaintiffs’ trademarks;

                                                                                         16          2.      Defendants are liable for their licensees’ trademark infringement of Plaintiffs’ trademarks,

                                                                                         17   false designation of origin, and dilution under 15 U.S.C. §§ 1114, 1125(a) and 1125(c);

                                                                                         18          3.      This is an exceptional case entitling Plaintiffs to an award of all their reasonable attorneys’

                                                                                         19   fees under 15 U.S.C. § 1117, in an amount to be determined;

                                                                                         20          4.      Defendants shall transfer to Plaintiffs the Infringing Domain Names;

                                                                                         21          5.      Defendants shall reimburse Plaintiffs $88,937 for costs related to the Special Master; and

                                                                                         22          6.      Defendants and their agents, employees, successors, and assigns, and all other persons

                                                                                         23   acting in concert with or in conspiracy with or affiliated with Defendants, are permanently enjoined and

                                                                                         24   restrained from cybersquatting on Plaintiffs’ trademarks, and Defendants must provide relevant

                                                                                         25   information to Plaintiffs to ensure compliance with the permanent injunction.

                                                                                         26          This motion is based on this Notice of Motion and Motion, the Memorandum of Points and

                                                                                         27   Authorities in Support of the Motion, the Declaration of Helena M. Guye, the [Proposed] Default

                                                                                         28   Judgment, any oral argument heard by the Court, such additional evidence as may be submitted to the
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                                                                                                                       MOTION FOR DEFAULT JUDGMENT AND MEMORANDUM IN SUPPORT OF MOTION
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                                                                                         1    Court, matters as to which the Court may take judicial notice, and such other matters as the Court deems

                                                                                         2    proper.

                                                                                         3
                                                                                         4    DATED: January 31, 2024                            Tucker Ellis LLP
                                                                                         5

                                                                                         6
                                                                                                                                                 By: /s/David J. Steele
                                                                                         7                                                            David J. Steele
                                                                                         8                                                            Howard A. Kroll
                                                                                                                                                      Steven E. Lauridsen
                                                                                         9                                                            Attorneys for Plaintiffs,
                                                                                                                                                      META PLATFORMS, INC. f/k/a
                                                                                         10                                                           FACEBOOK, INC. and INSTAGRAM, LLC
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                                                                                         1                           MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                         2    I.     INTRODUCTION

                                                                                         3           On October 17, 2022, the Court adopted Judge van Keulen’s report and recommendation
                                                                                         4    (ECF No. 225) (“R&R”) recommending terminating sanctions against Defendants OnlineNIC, Inc.

                                                                                         5    (“OnlineNIC”) and Domain ID Shield Service Co., Ltd. (“ID Shield”) (together, the “OnlineNIC

                                                                                         6    Defendants”). See ECF No. 276 (“Order Adopting R&R”) at 14-15. The Court deferred entry of default
                                                                                         7    judgment pending resolution of this case against Defendant Leascend Technology Co., Ltd. f/k/a Xiamen
                                                                                                                                        1
                                                                                         8    35.com Internet Technology Co., Ltd. (“35.CN” and, collectively with the OnlineNIC Defendants,

                                                                                         9    “Defendants”). ECF No. 291 at 1:19-21. The clerk entered default against the OnlineNIC Defendants on
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                                                                                         10   December 19, 2022. ECF No. 292. On November 6, 2023, the Court entered summary judgment that the

                                                                                         11   OnlineNIC Defendants and 35.CN were the alter ego of each other at all relevant times, and issued the

                                                                                         12   same terminating sanctions against 35.CN for the reasons stated in the R&R. ECF No. 357 (“SJ Order”).
                                                                                         13   The clerk entered default against 35.CN on November 8, 2023. ECF No. 352.
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                                                                                         14          Based on the well-pleaded factual allegations of the Second Amended Complaint (ECF No. 109)

                                                                                         15   (“SAC”), the findings in the R&R, and the finding that the OnlineNIC Defendants and 35.CN were alter
                                                                                         16   egos of each other, Plaintiffs Meta Platforms, Inc. (“Meta”) and Instagram, LLC (“Instagram” and,

                                                                                         17   collectively with Meta, “Plaintiffs”) respectfully request entry of default judgment jointly and severally

                                                                                         18   against the Defendants pursuant to Fed. R. Civ. P. 55(b)(2), including statutory damages, attorneys’ fees
                                                                                                                                    2
                                                                                         19   and costs, and a permanent injunction. Specifically, Plaintiffs request default judgment as follows:

                                                                                         20          1.      Defendants registered, trafficked in, or used 35 domain names that are identical or

                                                                                         21   confusingly similar to Plaintiffs’ trademarks with a bad faith intent to profit in violation of the
                                                                                         22   Anticybersquatting Consumer Protection Act (“ACPA”), 15 U.S.C. § 1125(d). Plaintiffs are awarded

                                                                                         23   $3,135,000 in statutory damages against Defendants for cybersquatting on Plaintiffs’ trademarks;

                                                                                         24          2.      Defendants are liable for their licensees’ trademark infringement of Plaintiffs’ trademarks,
                                                                                         25
                                                                                              1 Xiamen 35.com Internet Technology Co., Ltd. formally changed its name to Leascend Technology Co.,
                                                                                         26
                                                                                              Ltd. on September 8, 2023. Declaration of Helena M. Guye (“Guye Decl.”), ¶¶ 2, 5 & Ex. 1.
                                                                                              2 The Court ordered the parties to submit briefing on statutory damages, attorneys’ fees, and the scope of
                                                                                         27
                                                                                              the permanent injunction. See ECF No. 373. Each is addressed in turn below at Sections IV-VI.
                                                                                         28                                                 1
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                                                                                         1    false designation of origin, and dilution under 15 U.S.C. §§ 1114, 1125(a), and 1125(c);

                                                                                         2           3.     This is an exceptional case entitling Plaintiffs to an award of all their reasonable attorneys’

                                                                                         3    fees under 15 U.S.C. § 1117, in an amount to be determined;
                                                                                         4           4.     Defendants shall transfer to Plaintiffs the Infringing Domain Names;

                                                                                         5           5.     Defendants shall reimburse Plaintiffs $88,937 for costs related to the Special Master; and

                                                                                         6           6.     Defendants and their agents, employees, successors, and assigns, and all other persons
                                                                                         7    acting in concert with or in conspiracy with or affiliated with Defendants, are permanently enjoined and

                                                                                         8    restrained from cybersquatting on Plaintiffs’ trademarks, and Defendants must provide relevant

                                                                                         9    information to Plaintiffs to ensure compliance with the permanent injunction.
                                                                                         10   II.    STATEMENT OF FACTS
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                                                                                         11          A.      Plaintiffs’ Trademarks

                                                                                         12          Meta, formerly known as Facebook, Inc., operates Facebook, which offers a social networking
                                                                                         13   website and mobile application that enables its users to create their own personal profiles and connect
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                                                                                         14   with each other on their personal computers and mobile devices. SAC ¶ 18. Meta owns the exclusive rights

                                                                                         15   to several trademarks and service marks to provide its online services, including the distinctive
                                                                                         16   FACEBOOK word mark and stylized mark, and has used the marks in connection with its services since

                                                                                         17   2004. Id. ¶ 19. In addition to its extensive common law rights, Meta owns numerous United States
                                                                                                                                                                                                          3
                                                                                         18   registrations for its FACEBOOK marks, including U.S. Reg. No. 3,122,052 and U.S. Reg. No. 3,881,770.
                                                                                         19   Id. ¶ 20. Meta’s use of the Facebook Trademarks in interstate commerce has been extensive, continuous,

                                                                                         20   and substantially exclusive. Id. ¶ 21. Meta has made, and continues to make, a substantial investment of

                                                                                         21   time, effort, and expense in the promotion of Facebook and the Facebook Trademarks. Id. As a result of
                                                                                         22   Meta’s efforts and use, the Facebook Trademarks are famous (and have been famous since at least as early

                                                                                         23   as 2011) as they are recognized within the United States and around the world as signifying high-quality,

                                                                                         24   authentic services provided by Meta. Id.
                                                                                         25          Instagram offers a photo and video sharing service, mobile application, and social network.

                                                                                         26   SAC ¶ 22. Instagram users can choose to share their photos and videos with their followers online. Id.

                                                                                         27
                                                                                         28   3 Meta’s common law and registered trademarks are referred to herein as the “Facebook Trademarks.”
                                                                                                                                               2
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                                                                                         1    Instagram owns the exclusive rights to the distinctive INSTAGRAM word mark and stylized mark, having

                                                                                         2    used the marks in connection with its services as early as 2010. Id. ¶ 23. In addition to its extensive
                                                                                                                                                                                                         4
                                                                                         3    common law rights, Instagram owns numerous United States registrations for the INSTAGRAM marks.
                                                                                         4    Id. ¶ 24. Instagram’s use of the Instagram Trademarks in interstate commerce has been extensive,

                                                                                         5    continuous, and substantially exclusive. Id. ¶ 25. Instagram has made, and continues to make, a substantial

                                                                                         6    investment of time, effort, and expense in the promotion of Instagram and the Instagram Trademarks. Id.
                                                                                         7    As a result of Instagram’s efforts and use, the Instagram Trademarks are famous (and have been famous

                                                                                         8    since at least as early as 2014) as they are recognized within the United States and around the world as

                                                                                         9    signifying high-quality, authentic services provided by Instagram. Id.
                                                                                         10          B.      Defendants’ Cybersquatting Activities
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                                                                                         11          OnlineNIC, a California corporation, and 35.CN, a Chinese corporation, are domain name

                                                                                         12   registrars accredited by the Internet Corporation for Assigned Names and Numbers (“ICANN”) and
                                                                                         13   subject to ICANN’s Registrar Accreditation Agreement (“RAA”). SAC ¶¶ 9, 11, 26. ID Shield, a
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                                                                                         14   Hong Kong, China limited liability company, provides a proxy service for OnlineNIC’s customers by

                                                                                         15   registering domain names, as the registrant, and licensing these domain names to OnlineNIC’s customers
                                                                                                                             5
                                                                                         16   (the “Licensees”) for their use. Id. ¶¶ 10, 27, 28.

                                                                                         17          Defendants registered, used, or trafficked in at least the following 35 domain names that are
                                                                                         18   identical or confusingly similar to Plaintiffs’ Marks (the “Infringing Domain Names”):
                                                                                         19    1. buyinstagramfans.com             6. facebook-login-signup.com        11. facebookvideodownload.net

                                                                                         20    2. face2bouk.com                    7. facebook-mails.com               12. facebux2.com

                                                                                         21    3. facebook-alkalmazasok.net        8. facebook-pass.com                13. facekhook.com
                                                                                         22    4. facebook-chat-emoticons.com 9. facebookphysician.com                 14. facessbook.com

                                                                                         23    5. facebook-fans-buy.com            10. facebook-pw.com                 15. faecb00k-page.com

                                                                                         24
                                                                                              4 These federal registrations include U.S. Reg. Nos. 4,795,634; 4,146,057; 4,756,754; 5,566,030;
                                                                                         25   4,170,675; 4,856,047; 4,822,600; 4,827,509; 4,863,595; and 5,019,151. SAC ¶ 24. Instagram’s common
                                                                                              law and registered trademarks are referred to herein as the “Instagram Trademarks,” and, collectively
                                                                                         26   with the Facebook Trademarks, “Plaintiffs’ Marks.”
                                                                                              5 35.CN and ID Shield are subject to general personal jurisdiction as an alter ego of OnlineNIC. See Ranza
                                                                                         27   v. Nike, Inc., 793 F.3d 1059, 1073 (9th Cir. 2015) (explaining “the alter ego test may be used to extend
                                                                                              personal jurisdiction to a foreign parent or subsidiary when, in actuality, the foreign entity is not really
                                                                                         28   separate from its domestic affiliate”).
                                                                                                                                             3
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                                                                                         1     16. faecbook-page.com               23. instagram01.com                 30. singin-lnstargram.com

                                                                                         2     17. findfacebookid.com              24. instakram.com                   31. trollfacebook.com

                                                                                         3     18. hackfacebook-now.com            25. lamsocialfacebook.net           32. watch-facebook.com
                                                                                         4     19. hackingfacebook.net             26. learntohackfacebook.com         33. www-facebook-login.com

                                                                                         5     20. hacksomeonesfacebook.com        27. login-lnstargram.com            34. www-facebook-pages.com

                                                                                         6     21. iiinstagram.com                 28. m-facebook-login.com            35. www-instagram.net
                                                                                         7     22. instaface.org                   29. ofacebooklogin.com

                                                                                         8    SAC ¶ 56. ID Shield is the registrant for each of the Infringing Domain Names and is listed as the

                                                                                         9    registrant in the WHOIS directory. Id. ¶¶ 56-57. ID Shield also trafficked in the Infringing Domain Names
                                                                                         10   by licensing these domain names to the Licensees for their use. Id. ¶ 59.
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                                                                                         11          OnlineNIC has a history of cybersquatting on famous and distinctive trademarks. See Verizon

                                                                                         12   California Inc. v. Onlinenic, Inc., No. C 08-2832 JF (RS), 2009 WL 2706393, at *5 (N.D. Cal.
                                                                                         13   Aug. 25, 2009) (“Verizon discovered that OnlineNIC had registered an extraordinary 14,700 domain
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                                                                                         14   names that infringed the mere twenty-six representative marks selected. While OnlineNIC denies that it

                                                                                         15   operates a massive cybersquatting operation, it has offered no evidence to contradict the factual record
                                                                                         16   presented by Verizon.”); see also SAC ¶¶ 61-64. Defendants profit from (1) the sale of the ID Shield proxy

                                                                                         17   service, including providing the service to the Licensees of the Infringing Domain Names and to

                                                                                         18   OnlineNIC, and (2) collecting fees from the sale of that service. Id. ¶ 66.
                                                                                         19          The Licensees of the Infringing Domain Names intended to divert consumers to websites using

                                                                                         20   domain names that were confusingly similar to Plaintiffs’ Marks. The Infringing Domain Names have

                                                                                         21   been used for malicious activity, including hosting websites directing visitors to other commercial sites,
                                                                                         22   phishing, and selling purported tools for hacking. SAC ¶ 67 & Ex. 8. The Licensees also used some of the

                                                                                         23   Infringing Domain Names in connection with email services, which indicates that the domain names were

                                                                                         24   used for phishing or other scams. Id. ¶ 68.
                                                                                         25   III.   DEFAULT JUDGMENT IS WARRANTED

                                                                                         26          Pursuant to Fed. R. Civ. P. 55(b)(2), the court, in its discretion, may enter a default judgment

                                                                                         27   against a party against whom default has been entered. Eitel v. McCool, 782 F.2d 1470, 1471 (9th Cir.
                                                                                         28   1986). In determining whether default judgment is appropriate, the court may consider the following

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                                                                                                     6
                                                                                         1    factors : “(1) the possibility of prejudice to the plaintiff, (2) the merits of plaintiff’s substantive claim,

                                                                                         2    (3) the sufficiency of the complaint, (4) the sum of money at stake in the action; (5) the possibility of a

                                                                                         3    dispute concerning material facts; (6) whether the default was due to excusable neglect, and (7) the strong
                                                                                         4    policy underlying the Federal Rules of Civil Procedure favoring decisions on the merits.” Id. at 1471-72.

                                                                                         5    These factors weigh in favor of granting default judgment.

                                                                                         6           A.      Plaintiffs Will Suffer Prejudice Absent Default Judgment
                                                                                         7           The first Eitel factor considers “whether Plaintiff will be prejudiced if the Court denies its request

                                                                                         8    for entry of default judgment.” IO Grp., Inc. v. Jordon, 708 F. Supp. 2d 989, 997 (N.D. Cal. 2010). This

                                                                                         9    factor weighs in favor of default judgment because the Court has already found that Plaintiffs have been
                                                                                         10   prejudiced due to Defendants’ mass spoliation of evidence. R&R at 18-19; SJ Order at 20. See also, e.g.,
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                                                                                         11   Am. Career Coll., Inc. v. Medina, No. CV 21-00698-PSG (SKx), 2023 WL 8000273, at *4 (C.D. Cal.

                                                                                         12   Oct. 6, 2023) (weighing factor in favor of default judgment because the Court had already found plaintiffs
                                                                                         13   “suffered sufficient prejudice to warrant the imposition of terminating sanctions”); Goes Int’l, AB v. Dodur
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                                                                                         14   Ltd., No. 14-CV-05666-LB, 2018 WL 2298631, at *7 (N.D. Cal. May 20, 2018) (weighing factor in favor

                                                                                         15   of default judgment where, after terminating sanctions, plaintiff “has no recourse against [Defendant]
                                                                                         16   except for default judgment”). Accordingly, this factor favors granting default judgment.

                                                                                         17          B.      Plaintiffs’ Claims are Meritorious and Well-Founded

                                                                                         18          The second and third Eitel factors, “often analyzed together,” require the plaintiff “to plead facts
                                                                                         19   sufficient to establish and succeed upon its claims.” Restoration Hardware, Inc. v. Sichuan Wei Li Tian

                                                                                         20   Xia Network Tech. Co., No. 22-CV-03054-JSC, 2023 WL 2815358, at *4 (N.D. Cal. Apr. 5, 2023) “The

                                                                                         21   general rule of law is that upon default the factual allegations of the complaint, except those relating to
                                                                                         22   the amount of damages, will be taken as true.” Geddes v. United Financial Group, 559 F.2d 557, 560
                                                                                                                                                                               7
                                                                                         23   (9th Cir. 1977). Based on the well-pleaded factual allegations of the SAC, Plaintiffs’ cybersquatting

                                                                                         24   6 Where default is imposed as a sanction, consideration of the Eitel factors may be “redundant or
                                                                                              inconsistent.” Dreith v. Nu Image, Inc., No. CV 05–4146 SVW (MANx), 2007 WL 9658786, at *6
                                                                                         25   (C.D. Cal. Mar. 2, 2007) (declining to consider Eitel factors when entering default judgment as a
                                                                                              sanction). “If the Eitel factors could somehow compel this Court to deny default judgment despite having
                                                                                         26   already concluded that the entry of default was proper, the result would defy common sense. The Court’s
                                                                                              discovery sanction for willful and deliberate misconduct would amount to a nullity, and would only have
                                                                                         27   had the effect of delaying the case’s resolution on the merits.” Id.
                                                                                              7 In denying 35.CN’s motion to dismiss, this Court previously determined that Plaintiffs adequately
                                                                                         28
                                                                                                                                             5
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                                                                                         1    claim (First Cause of Action) and Lanham Act claims (Second, Third, and Fourth Causes of Action) are

                                                                                         2    meritorious and well-founded.

                                                                                         3                           Plaintiffs’ Cybersquatting Claim is Meritorious and Well-Founded
                                                                                         4           To succeed on a claim of cybersquatting under the ACPA, a plaintiff must show (1) ownership of

                                                                                         5    a valid mark; (2) that the mark is distinctive or famous; (3) the existence of a domain name that is identical

                                                                                         6    or confusingly similar to, or in the case of a famous mark, dilutive of, the owner’s mark; and (4) that a
                                                                                         7    defendant registered, trafficked in, or used the domain name, (5) with bad faith intent to profit from the

                                                                                         8    mark. See 15 U.S.C. § 1125(d)(1); Bosley Med. Inst., Inc. v. Kremer, 403 F.3d 672, 681 (9th Cir. 2005).

                                                                                         9    ID Shield registered (as the registrant), trafficked in, or used the Infringing Domain Names with bad faith
                                                                                         10   intent to profit from Plaintiffs’ famous or distinctive marks in violation of the ACPA. Since 35.CN and
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                                                                                                                                                                                                           8
                                                                                         11   OnlineNIC are alter egos of ID Shield (SJ Order at 1), each of the Defendants is liable under the ACPA.

                                                                                         12                                  Plaintiffs’ Marks are distinctive and famous.
                                                                                         13          Plaintiffs own the exclusive rights to numerous trademarks and service marks, including Plaintiffs’
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                                                                                         14   Marks. Here, there can be no dispute that each of Plaintiffs’ Marks is distinctive, or that FACEBOOK and

                                                                                         15   INSTAGRAM are famous. SAC ¶¶ 21, 25. This fame is based on, among other things, the inherent
                                                                                         16   distinctiveness and federal registration of Plaintiffs’ Marks, as well as the extensive and exclusive

                                                                                         17   worldwide use, advertising, promotion, and recognition of them. Id. ¶ 127. See Jada Toys, Inc. v. Mattel,

                                                                                         18   Inc., 518 F.3d 628, 635 (9th Cir. 2008) (citing 15 U.S.C. § 1125(c)(2)(A)).
                                                                                         19                                  The Infringing Domain Names are identical or confusingly similar to

                                                                                         20                                  and/or dilutive of Plaintiffs’ Marks.

                                                                                         21          Each of the Infringing Domain Names is identical or confusingly similar to Plaintiffs’ Marks.
                                                                                         22   SAC ¶ 56. Courts hold the ACPA only requires a facial comparison of the domain names to the mark at

                                                                                         23   issue rather than the more involved comparison in a traditional trademark likelihood of confusion analysis.

                                                                                         24
                                                                                         25   pleaded claims for cybersquatting, trademark infringement, false designation of origin, and dilution.
                                                                                              ECF No. 207 at 9-11.
                                                                                              8 The operations of ID Shield and OnlineNIC, including all technical support and customer support, are
                                                                                         26
                                                                                              carried out by employees of 35.CN. SAC ¶¶ 45-46. And the operations of ID Shield are controlled by
                                                                                         27   OnlineNIC. Id. ¶ 33. Thus, in addition to their liability as alter egos, 35.CN and OnlineNIC are also liable
                                                                                              under the ACPA as a direct participant in the registration and trafficking by ID Shield in the
                                                                                         28   Infringing Domain Names. Id. ¶ 12. See, e.g., Forsythe v. Clark USA, Inc., 864 N.E.2d 227, 233-34 (Ill.
                                                                                              2007) (collecting state and federal cases supporting the direct participant theory of liability).
                                                                                                                                             6
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                                                                                         1    See Coca-Cola Co. v. Purdy, 382 F.3d 774, 783 (8th Cir. 2004) (“The inquiry under the ACPA is thus

                                                                                         2    narrower than the traditional multifactor likelihood of confusion test for trademark infringement.”); see

                                                                                         3    also DSPT Int’l, Inc. v. Nahum, 624 F.3d 1213, 1222 n.28 (9th Cir. 2010). Further, domain names that
                                                                                         4    merely append a generic word to a mark, or that merely add or delete characters to a mark, are confusingly

                                                                                         5    similar to the mark upon which they prey. See, e.g., id. at 1222 (upholding jury verdict that “eq-Italy.com”

                                                                                         6    is confusingly similar to EQ mark); Harrods Ltd. v. Sixty Internet Domain Names, 157 F. Supp. 2d 658,
                                                                                         7    667-78 (E.D. Va. 2001), aff’d in part, rev’d in part, 302 F.3d 214 (4th Cir. 2002) (domain names adding

                                                                                         8    descriptive or generic terms like “bank,” “financial,” and “shopping” to the HARRODS mark held

                                                                                         9    confusingly similar). See also 145 Cong. Rec. S10513-02 (daily ed. Aug. 5, 1999) (citing
                                                                                         10   “attphonecard.com” and “attcallingcard.com” as examples of confusingly similar domain names during
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                                                                                         11   passage of the ACPA).

                                                                                         12          Here, there are 21 Infringing Domain Names that include correct spellings of Plaintiffs’ Marks and
                                                                                         13   correct spellings of other commonly-spelled words; 4 Infringing Domain Names that incorporate identical
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                                                                                         14   spellings of Plaintiffs’ Marks but do not include other commonly spelled words; and 10
                                                                                                                                                     9
                                                                                         15   Infringing Domain Names involving typosquatting.           See R&R at 27:19-28:16. In short, the 35
                                                                                         16   Infringing Domain Names are identical or confusingly similar to Plaintiffs’ Marks.

                                                                                         17                                 Defendants registered each Infringing Domain Name.
                                                                                         18          ID Shield is liable under the ACPA for registering each of the Infringing Domain Names because
                                                                                                                                10
                                                                                         19   ID Shield is listed as the registrant in the WHOIS directory for the Infringing Domain Names. In finding

                                                                                         20   that Plaintiffs adequately pleaded registration, this Court stated, “OnlineNIC and ID Shield admit that ID

                                                                                         21   Shield is listed as the registrant for the allegedly Infringing Domain Names listed in the complaint.” ECF
                                                                                         22   No. 207 at 9:21-24 (citing SAC ¶ 27 and ECF No. 88 ¶ 27 (Answer)); see also Facebook Inc. v.

                                                                                         23   Namecheap Inc., No. CV-20-00470-PHX-GMS, 2020 WL 6585534, at *3 (D. Ariz. Nov. 10, 2020)

                                                                                         24   (holding plaintiffs plausibly alleged proxy service provider was domain name registrant because it was
                                                                                         25   9
                                                                                                “A reasonable interpretation of conduct covered by the phrase ‘confusingly similar’ is the intentional
                                                                                         26   registration of domain names that are misspellings of distinctive or famous names, causing an Internet
                                                                                              user who makes a slight spelling or typing error to reach an unintended site.” Shields v. Zuccarini,
                                                                                         27   254 F.3d 476, 484 (3rd Cir. 2001).
                                                                                              10
                                                                                                 The ACPA uses the term “registrant,” and ICANN use the terms “registrant” and “registered name
                                                                                         28
                                                                                              holder” interchangeably, to refer to an individual or entity who registers a domain name.
                                                                                                                                             7
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                                                                                         1    listed as the registrant in the WHOIS directory); Meta Platforms, Inc. v. New Ventures Servs. Corp.,

                                                                                         2    No. 3:21-cv-697-MEM, 2023 WL 5651994, at *6-7 (M.D. Pa. Aug. 31, 2023) (same).

                                                                                         3            Indeed, the ID Shield Service Agreement states that “each domain name registration which you
                                                                                         4    control and which you designate will thereafter be registered in the name of [ID Shield] as registrant.”

                                                                                         5    SAC Ex. 6 at 1 (emphasis added). And later, the ID Shield Service Agreement confirms that the customer

                                                                                         6    “will not be listed as the registrant for the” domain names. Id. at 2. Finally, ID Shield’s webpage confirms
                                                                                         7    that it is the registrant for the domain names by stating: “We replace your registrant, technical, admin and

                                                                                         8    billing information.” SAC Ex. 5.

                                                                                         9                                      Defendants trafficked in the Infringing Domain Names.
                                                                                         10           As a proxy service, ID Shield is also liable under the ACPA for trafficking in the
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                                                                                         11   Infringing Domain Names because ID Shield licensed use of the Infringing Domain Names to its
                                                                                                           11
                                                                                         12   Licensees.        ICANN defines a proxy service as “a service through which a Registered Name Holder
                                                                                         13   licenses use of a Registered Name to the . . . Customer in order to provide the . . . Customer use of the
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                                                                                         14   domain name, and the Registered Name Holder’s contact information is displayed in the Registration

                                                                                         15   Data Service (Whois) or equivalent services rather than the . . . Customer’s contact information.” SAC
                                                                                         16   Ex. 4 at 59 (RAA, “Specification On Privacy And Proxy Registrations” § 1.3) (emphasis added). See also

                                                                                         17   ICANN, Information for Privacy and Proxy Service Providers, Customers and Third-Party Requesters,

                                                                                         18   available         at:   https://www.icann.org/resources/pages/pp-services-2017-08-31-en    (last   accessed
                                                                                         19   January 31, 2024) (“The proxy service provider is the registrant of record (the registered domain name

                                                                                         20   holder) and provides alternative, reliable contact information. . . . The proxy service provider licenses use

                                                                                         21   of the domain name to the customer via its agreement with the customer.”) (emphasis added) (Guye Decl.
                                                                                         22   Ex. 2). Here, ID Shield is a proxy service because it registers domain names in its own name and not in

                                                                                         23   the name of its Licensees. SAC ¶¶ 10, 27. ID Shield provides this proxy service to OnlineNIC’s customers.

                                                                                         24   Id. ¶¶ 10, 28.
                                                                                         25
                                                                                              11
                                                                                         26      “Trafficking in” is a separate and distinct act giving rise to liability under the ACPA. See Acad. of
                                                                                              Motion Pictures Arts & Scis. v. GoDaddy.com, Inc., No. CV 10-3738 ABC (CWX), 2013 WL 12122689,
                                                                                         27   at *6 (C.D. Cal. June 21, 2013). Section 1125(d)(1)(E) defines “traffics in” as engaging in “transactions
                                                                                              that include but are not limited to, sales, purchases, loans, pledges, licenses, exchanges of currency, and
                                                                                         28
                                                                                              any other transfer for consideration or receipt in exchange for consideration” (emphasis added).
                                                                                                                                                 8
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                                                                                         1                                  Defendants acted with bad faith intent to profit from Plaintiffs’ Marks.

                                                                                         2           The SAC contains extensive allegations of Defendants’ bad faith intent to profit. With respect to

                                                                                         3    the bad faith factors listed in the ACPA, Plaintiffs allege, and Defendants cannot dispute, that
                                                                                         4    (a) Defendants have no trademark or intellectual property rights in the Infringing Domain Names, (b) the

                                                                                         5    Infringing Domain Names do not consist of Defendants’ legal name or a name commonly used to identify

                                                                                         6    them, (c) Defendants have not made any prior use of any Infringing Domain Name in connection with the
                                                                                         7    bona fide offering of any goods or services, and (d) Defendants have not made any bona fide

                                                                                         8    noncommercial or fair use of Plaintiffs’ Marks on a website accessible at any of the

                                                                                         9    Infringing Domain Names. 15 U.S.C § 1125(d)(1)(b)(i)(I)–(IV); SAC ¶ 82–85. Next, the screen captures
                                                                                         10   of parking pages attached to the SAC demonstrate that the Infringing Domain Names diverted consumers
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                                                                                         11   from Plaintiffs’ legitimate websites to different commercial websites accessible under the

                                                                                         12   Infringing Domain Names. See 15 U.S.C § 1125(d)(1)(b)(i)(V); SAC ¶ 67 & Ex. 8. Furthermore,
                                                                                         13   OnlineNIC has registered multiple domain names that were identical or confusingly similar to marks of
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                                                                                         14   others that were distinctive at the time of registration. 15 U.S.C § 1125(d)(1)(b)(i)(VIII); SAC ¶¶ 61-63,

                                                                                         15   69. Finally, Plaintiffs’ Marks are distinctive and famous. 15 U.S.C § 1125(d)(1)(b)(i)(IX); SAC ¶¶ 19, 21,
                                                                                         16   23, 25. As such, Defendants acted with a bad faith intent to profit from Plaintiffs’ Marks.

                                                                                         17                          Plaintiffs’ Lanham Act Claims are Meritorious and Well-Founded
                                                                                         18          The Licensees’ use of the Infringing Domains Names caused harm by trademark infringement,
                                                                                         19   false designation of origin, and dilution of Plaintiffs’ Marks, and Defendants accepted liability for this

                                                                                         20   harm under the RAA.

                                                                                         21                                 The Licensees’ trademark infringement, false designation of origin, and
                                                                                         22                                 dilution of Plaintiffs’ Marks

                                                                                         23          The Licensees’ wrongful use of the Infringing Domain Names caused harm by trademark

                                                                                         24   infringement, false designation of origin, and dilution of Plaintiffs’ Marks. To establish a claim of
                                                                                         25   trademark infringement or false designation of origin, a plaintiff must prove it holds a protectable mark

                                                                                         26   and that the alleged infringer’s use is likely to cause consumer confusion. Dep’t of Parks & Recreation v.

                                                                                         27   Bazaar Del Mundo Inc., 448 F.3d 1118, 1124 (9th Cir. 2006); New West Corp. v. NYM Co. of California,
                                                                                         28   Inc., 595 F.2d 1194, 1201 (9th Cir. 1979) (“Whether we call the violation infringement, unfair competition
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                                                                                         1    or false designation of origin, the test is identical–is there a ‘likelihood of confusion?’”); see also 15 U.S.C.
                                                                                                              12
                                                                                         2    §§ 1114, 1125. “The test for likelihood of confusion is whether a ‘reasonably prudent consumer’ in the

                                                                                         3    marketplace is likely to be confused as to the origin of the good or service . . . .” Dreamwerks Prod. Grp.,
                                                                                         4    Inc. v. SKG Studio, 142 F.3d 1127, 1129 (9th Cir. 1998).

                                                                                         5            Here, Plaintiffs hold protectable marks—i.e., Plaintiffs’ Marks—and Plaintiffs have adequately

                                                                                         6    pleaded likelihood of confusion by alleging that the Infringing Domain Names are confusingly similar to
                                                                                         7    Plaintiffs’ Marks and used by the Licensees to divert consumers away from Plaintiffs’ legitimate websites

                                                                                         8    to websites used for malicious activity. SAC ¶¶ 67, 68. For example, the Licensees used some of the

                                                                                         9    Infringing Domain Names to host websites directing visitors to other commercial sites. Others hosted
                                                                                         10   websites selling purported tools for hacking. And some of the Infringing Domain Names were configured
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                                                                                         11   to send and receive email, strongly suggesting use for phishing attacks. Id. ¶¶ 67, 68, 104, 116, 128. The

                                                                                         12   Licensees’ use of Plaintiffs’ Marks in connection with the Infringing Domain Names constitutes a use in
                                                                                         13   commerce causing a likelihood of confusion prohibited by the Lanham Act. See San Diego Comic
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                                                                                         14   Convention v. Dan Farr Prods., 336 F. Supp. 3d 1191, 1201 (S.D. Cal. 2018) (finding the unauthorized

                                                                                         15   use of an infringing mark in a domain name may give rise to a claim for trademark infringement, so long
                                                                                         16   as the defendant “acts beyond” merely registering the domain name) (citing GoPets Ltd. v. Hise, 657 F.3d

                                                                                         17   1024, 1035 (9th Cir. 2011)); see also, e.g., Glob. Licensing, Inc. v. Namefind LLC, 582 F. Supp. 3d 467,

                                                                                         18   482-83 (E.D. Mich. 2022) (collecting cases) (finding pay-per-click parking pages sufficient to allege “use
                                                                                         19   in commerce” under Lanham Act).

                                                                                         20           To establish dilution, Plaintiffs must show (1) they own a famous mark that is distinctive and

                                                                                         21   (2) the defendant has engaged in either “dilution by blurring” or “dilution by tarnishment” after the mark
                                                                                         22   has become famous. 15 U.S.C. §§ 1125(c)(1)-(2). Cybersquatting dilution is the diminishment of “‘the

                                                                                         23   capacity of the [plaintiff’s] marks to identify and distinguish the [plaintiff’s] goods and services on the

                                                                                         24   Internet.’” Panavision v. Toeppen, 141 F.3d 1316, 1326 (9th Cir. 1998); see also Brookfield, 174 F.3d at
                                                                                         25

                                                                                         26   12 While 15 U.S.C. § 1114(1) provides protection only to registered marks, 15 U.S.C. § 1125(a) protects
                                                                                              unregistered marks as well as registered marks. See, e.g., Kendall–Jackson Winery, Ltd. v. E. & J. Gallo
                                                                                         27   Winery, 150 F.3d 1042, 1047 n.7 (9th Cir. 1998). “Despite these differences, the analysis under the two
                                                                                              provisions is oftentimes identical.” Brookfield Commc’ns, Inc. v. W. Coast Ent. Corp., 174 F.3d 1036,
                                                                                         28
                                                                                              1046 n.8 (9th Cir. 1999).
                                                                                                                                              10
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                                                                                         1    1045 (“The Web surfer who assumes that “‘X’.com” will always correspond to the web site of company

                                                                                         2    X or trademark X will, however, sometimes be misled.”). Dilution occurs because “‘[p]rospective users

                                                                                         3    of plaintiff’s services . . . may fail to continue to search for plaintiff’s own home page, due to anger,
                                                                                         4    frustration or the belief that plaintiff’s home page does not exist.’” Panavision, 141 F.3d at 1327 (citation

                                                                                         5    omitted). Here, Plaintiffs alleged that the Licensees diluted Plaintiffs’ Marks because the

                                                                                         6    Infringing Domain Names were used to divert consumers away from Plaintiffs’ legitimate websites to
                                                                                         7    websites used for unsavory commercial activity as noted above, including phishing, hacking, and other

                                                                                         8    domain name abuse. SAC ¶¶ 67, 68.

                                                                                         9                                   Defendants accepted liability for harm caused by the
                                                                                         10                                  Infringing Domain Names under RAA § 3.7.7.3.
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                                                                                         11          Under OnlineNIC’s Registration Agreement, Defendants accepted liability for harm caused by

                                                                                         12   their Licensees’ wrongful use of the Infringing Domain Names. OnlineNIC is an ICANN-accredited
                                                                                         13   domain name registrar subject to ICANN’s RAA, and is required to include certain material terms in its
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                                                                                         14   Registration Agreement, including the language from RAA § 3.7.7.3. SAC ¶¶ 3, 26 and Ex. 4 at 16-17.

                                                                                         15   Defendants therefore cannot dispute that OnlineNIC’s Registration Agreement contains all the terms
                                                                                         16   required by ICANN, including RAA § 3.7.7.3, which provides:

                                                                                         17                  A Registered Name Holder licensing use of a Registered Name according
                                                                                                             to this provision shall accept liability for harm caused by wrongful use of
                                                                                         18                  the Registered Name, unless it discloses the current contact information
                                                                                                             provided by the licensee and the identity of the licensee within seven (7)
                                                                                         19                  days to a party providing the Registered Name Holder reasonable evidence
                                                                                                             of actionable harm.
                                                                                         20

                                                                                         21   SAC Ex. 4 at 16–17 (RAA § 3.7.7.3) (emphasis added).
                                                                                         22          In turn, ICANN requires every registrant of a domain name to enter into a Registration Agreement

                                                                                         23   with an ICANN-accredited domain name registrar. SAC ¶ 26 & Ex. 4. As the registrant of the

                                                                                         24   Infringing Domain Names, ID Shield was thus required to enter into OnlineNIC’s Registration Agreement
                                                                                         25   and be bound by its terms. Accordingly, ID Shield, as a proxy service provider, contractually agreed under

                                                                                         26   the OnlineNIC Registration Agreement to accept liability if it failed to disclose Licensees’ contact

                                                                                         27   information within seven days of being provided reasonable evidence of trademark infringement. Here,
                                                                                         28   Plaintiffs’ authorized representatives sent at least five notices to ID Shield with evidence that the
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                                                                                         1    Infringing Domain Names caused Plaintiffs actionable harm and requesting that ID Shield disclose the

                                                                                         2    identities of the registrant(s). Id. ¶ 74. Because ID Shield did not timely disclose its Licensees’ contact

                                                                                         3    information in response to Plaintiffs having provided “reasonable evidence of actual harm” to ID Shield
                                                                                         4    (id. ¶ 75), Defendants are collectively liable for the cybersquatting, infringement, false designation of

                                                                                         5    origin, and dilution caused by the Licensees’ use of the Infringing Domain Names.

                                                                                         6           C.      The Amount of Money at Stake is Tailored to Defendants’ Misconduct
                                                                                         7           Under the fourth Eitel factor, “the court must consider the amount of money at stake in relation to

                                                                                         8    the seriousness of Defendant’s conduct.” Dr. JKL Ltd. v. HPC IT Educ. Ctr., 749 F. Supp. 2d 1038, 1050

                                                                                         9    (N.D. Cal. 2010). The sum of money does not weigh against entry of default judgment where the requested
                                                                                         10   amounts are “tailored to the specific misconduct of the Defendants” and “have evidentiary support.”
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                                                                                         11   Medina, 2023 WL 8000273, at *5; see also Baskin-Robbins Franchising LLC v. Pena, No. 19-CV-06657-

                                                                                         12   JSC, 2020 WL 2616576, at *9 (N.D. Cal. May 7, 2020), report and recommendation adopted, No. 19-
                                                                                         13   CV-06657-LHK, 2020 WL 2614851 (N.D. Cal. May 22, 2020). This factor weighs in favor of default
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                                                                                         14   judgment because, as detailed in Sections IV and V below, Plaintiffs request statutory damages and

                                                                                         15   attorneys’ fees tailored to the specific misconduct of the Defendants and with evidentiary support.
                                                                                         16          D.      The Possibility of a Dispute Concerning Material Facts

                                                                                         17          The fifth Eitel factor considers the possibility of a dispute concerning material facts. See Eitel, 782

                                                                                         18   F.2d at 1471–72. “Here, there is no possibility of a dispute that should preclude granting Plaintiffs’ motion
                                                                                         19   because the Court struck Defendants’ answer and instructed the clerk to enter default.” Medina,

                                                                                         20   2023 WL 8000273, at *5; see also Baskin-Robbins, 2020 WL 2616576 at 9. Accordingly, this factor

                                                                                         21   favors entry of default judgment.
                                                                                         22          E.      Whether the Default was Due to Excusable Neglect

                                                                                         23          Under the sixth Eitel factor, the court considers whether a defendant’s default was due to excusable

                                                                                         24   neglect. See Eitel, 782 F.2d at 1472. Here, the Special Master summarized that “based on Defendants’
                                                                                         25   widespread activities involving ESI deletion, information withholding, and data dumping there is no other

                                                                                         26   conclusion than Defendants acted intentionally to avoid producing responsive ESI to Plaintiffs.”

                                                                                         27   ECF Nos. 115 at 41:3-5 (Special Master’s Report); 151 (adopting Special Master’s Report). In addition,
                                                                                         28   Judge van Keulen found that “[t]he intentional and systematic deletion of potentially discoverable
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                                                                                         1    evidence over the years that this case has been pending in this Court, and particularly during the Special

                                                                                         2    Master’s review, clearly demonstrates willfulness.” R&R at 16:21-23. Finally, this Court found that

                                                                                         3    Defendants’ “behavior during discovery, as detailed in the [Special Master’s Report], renders terminating
                                                                                         4    sanctions reasonable and justified.” Order Adopting R&R at 10:1-3. As such, the default “resulted from

                                                                                         5    Defendants’ culpable conduct, not excusable neglect.” See Medina, 2023 WL 8000273, at *5.

                                                                                         6    Accordingly, this factor favors entry of default judgment.
                                                                                         7           F.      There is No Likelihood of a Decision on the Merits Under These Circumstances

                                                                                         8           The seventh Eitel factor considers whether the strong policy favoring decisions on the merits

                                                                                         9    overrides the reasons in favor of granting default judgment. See Eitel, 782 F.2d at 1472. This Court found
                                                                                         10   that Defendants’ disputes as to the merits of Plaintiffs’ claims “completely misses the point that ID Shield
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                                                                                         11   and OnlineNIC actively destroyed and concealed mass amounts of evidence after the litigation

                                                                                         12   commenced and, in some instances, after the Special Master was appointed.” Order Adopting R&R at
                                                                                         13   13:17-19. This Court further stated that a decision on the merits was “made impossible” due to the
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                                                                                         14   spoliation of evidence. See ECF No. 317 (Tr. of March 3, 2023 Case Management Conference) at 19:2.

                                                                                         15   Accordingly, this factor weighs in favor of default judgment. See, e.g., Medina, 2023 WL 8000273, at *5
                                                                                         16   (weighing factor in favor of default judgment because “[r]esolution of this case on the merits would be

                                                                                         17   impossible” given defendants’ discovery misconduct); Goes Int’l, 2018 WL 2298631, at *7 (weighing

                                                                                         18   factor in favor of default judgment because “[l]itigation on the merits is not possible”).
                                                                                         19   IV.    PLAINTIFFS ARE ENTITLED TO STATUTORY DAMAGES

                                                                                         20          Under the ACPA, a “plaintiff may elect, at any time before final judgment is rendered by the trial

                                                                                         21   court, to recover, instead of actual damages and profits, an award of statutory damages in the amount of
                                                                                         22   not less than $1,000 and not more than $100,000 per domain name, as the court considers just.” 15 U.S.C.

                                                                                         23   § 1117(d). Congress expressly provided for these statutory damages “both to deter wrongful conduct and

                                                                                         24   to provide adequate remedies for trademark owners who seek to enforce their rights in court.”
                                                                                         25   See S. Rep. No. 106-140, at 8 (Aug. 5, 1999); see also H.R. Conf. Rep. No. 106-464, at 39 (Nov. 9, 1999).

                                                                                         26          The Court is granted wide discretion in determining the amount of statutory damages. Columbia

                                                                                         27   Pictures Television, Inc. v. Krypton Broad. of Birmingham, Inc., 259 F.3d 1186, 1194-95 (9th Cir. 2001)
                                                                                         28   (citations omitted) (discussing analogous statutory damages provisions of the Copyright Act). The
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                                                                                         1    following considerations are among the most important in determining the amount of statutory damages:

                                                                                         2    the egregiousness of the defendant’s conduct, whether the defendant engaged in a pattern of registering

                                                                                         3    and using large numbers of domain names that infringe the rights of others, and the defendant’s behavior
                                                                                         4    showing an attitude of contempt for the court and the proceeding. See, e.g., Facebook, Inc. v.

                                                                                         5    Banana Ads LLC, No. CV 11-03619-YGR KAW, 2013 WL 1873289, at *14-24 (N.D. Cal.

                                                                                         6    Apr. 30, 2013), report and recommendation adopted, No. 11-CV-03619 YGR, 2013 WL 12308477 (N.D.
                                                                                         7    Cal. June 24, 2013). Moreover, the deterrence goals of the ACPA should be considered. E. & J. Gallo

                                                                                         8    Winery v. Spider Webs, Ltd., 286 F.3d 270, 278-279 (5th Cir. 2002).

                                                                                         9           A.      Defendants’ Conduct was Egregious
                                                                                         10          In determining the appropriate award of statutory damages under the ACPA, courts consider the
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                                                                                         11   “egregiousness or willfulness” of the defendant’s cybersquatting. Digby Adler Grp. LLC v. Image Rent a

                                                                                         12   Car, Inc., 79 F. Supp. 3d 1095, 1108 (N.D. Cal. 2015) (quoting Verizon California Inc. v. Onlinenic, Inc.,
                                                                                         13   2009 WL 2706393). “The more Infringing Domain Names a defendant registered or acquired, the more
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                                                                                         14   malicious the conduct.” Banana Ads, 2013 WL 1873289, at *16

                                                                                         15          Judge van Keulen found Defendants’ conduct to be egregious because Defendants “registered a
                                                                                         16   significant number (35) of domain names (the Infringing Domain Names) incorporating both the correct

                                                                                         17   spellings and misspellings of Plaintiffs’ Marks.” R&R at 24:23-25. In addition, Judge van Keulen found

                                                                                         18   that some of the Infringing Domain Names were used for malicious activity, including phishing or other
                                                                                         19   scams. R&R at 25:4-9. One example of an abusive Infringing Domain Name is m-facebook-login.com

                                                                                         20   because the legitimate Facebook login page for mobile users is m.facebook.com/login and Internet users

                                                                                         21   are more likely to be confused by the Infringing Domain Name. “Defendants clearly registered the
                                                                                         22   Infringing Domain Names in an intent to profit from consumers’ mistakes or confusion when trying to

                                                                                         23   reach Plaintiffs’ legitimate sites. The Court can conceive of no other use for registering a domain name

                                                                                         24   like ‘instakram.com.’” Id. at 25:9-13 (internal citations omitted). See Verizon California Inc. v. Navigation
                                                                                         25   Catalyst Systems, Inc., 568 F. Supp. 2d 1088, 1096 (C.D. Cal. 2008) (“It is clear that [Defendants’] intent

                                                                                         26   was to profit from the poor typing abilities of consumers trying to reach Plaintiffs’ sites: what other value

                                                                                         27   could there be in a name like ve3rizon.com?”).
                                                                                         28
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                                                                                         1            B.      Defendants Engaged in a Pattern of Unlawful Cybersquatting Against Famous

                                                                                         2                    Marks

                                                                                         3            Courts also consider whether the defendant has engaged in a pattern of registering and using large
                                                                                         4    numbers of domain names that infringe the rights of plaintiffs or third parties. “[I]t is clear that ‘a recidivist

                                                                                         5    may be punished more severely than a first offender[,] [since] . . . repeated misconduct is more

                                                                                         6    reprehensible than an individual instance of malfeasance.’” Verizon, 2009 WL 2706393 at 9.
                                                                                         7            Judge van Keulen emphasized that the “Court is not writing on a blank slate with respect to

                                                                                         8    OnlineNIC: OnlineNIC has appeared before this Court, represented by the same counsel, no less than

                                                                                         9    three times on similar allegations of cybersquatting.” R&R at 26:5-8; see also Verizon, 2009 WL 2706393
                                                                                         10   at *5 (“OnlineNIC’s status as a serial cybersquatter further supports a per-violation award of $50,000.”).
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                                                                                         11   To that end, Judge van Keulen took “judicial notice of this Court’s prior cases involving OnlineNIC. The

                                                                                         12   Court finds that in the context of this history, OnlineNIC is a serial cybersquatter, whose activities were
                                                                                         13   not even deterred by a $33.15 million judgment against it.” R&R at 26:14-17. See, e.g., Elecs. Boutique
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                                                                                         14   Holdings Corp. v. Zuccarini, No. CIV. A. 00-4055, 2000 WL 1622760, at *7-9 (E.D. Pa. Oct. 30, 2000)

                                                                                         15   at *7-9 (awarding $100,000 per infringing domain name, noting Mr. Zuccarini’s pattern of registering
                                                                                         16   names that “are misspellings of famous names and infringe on the marks of others,” recognizing the

                                                                                         17   significant number of cases brought by other trademark owners for the same type of infringement, and

                                                                                         18   commenting on Mr. Zuccarini’s new registrations of Infringing Domain Names after notice); Lahoti v.
                                                                                         19   Vericheck, Inc., 708 F. Supp. 2d 1150, 1170 (W.D. Wash. 2010) (awarding $100,000 per infringing

                                                                                         20   domain name in part because of defendant’s “pattern and practice of registering domain names that

                                                                                         21   incorporate the trademarks of others”), aff’d, 636 F.3d 501 (9th Cir. 2011).
                                                                                         22           C.      Defendants Demonstrated Contempt for the Court and Judicial Proceedings

                                                                                         23           High statutory damages may be warranted where, as here, a defendant’s behavior shows a lack of

                                                                                         24   respect for the judicial system. See, e.g., Yuga Labs, Inc. v. Ripps, No. CV 22-4355-JFW(JEMX), 2023
                                                                                         25   WL 7089922, at *14 (C.D. Cal. Oct. 25, 2023) (“. . . Defendants repeated and consistent contempt and

                                                                                         26   disdain for the law and the legal process, this Court’s rulings, and Yuga’s intellectual property rights, fully

                                                                                         27   justifies the maximum award of $200,000 in statutory damages.”); Lahoti, 708 F. Supp. 2d at 1170 (relying
                                                                                         28   in part on defendant’s “disregard for the submission of inaccurate answers to interrogatories” as a basis
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                                                                                         1    for awarding $100,000 per domain name). In this case, Judge van Keulen found that the OnlineNIC

                                                                                         2    Defendants “demonstrated contempt of these proceedings” by their “willful spoliation of millions of

                                                                                         3    database records and thousands of attachments.” R&R at 26:18-21. Moreover, Defendants intentionally
                                                                                         4    withheld evidence in discovery, made multiple misrepresentations to the Court and the Special Master,

                                                                                         5    and violated the Court’s Order to provide the Special Master all of their database files and backups in this

                                                                                         6    case (see R&R at 5:22-9:8 (summarizing findings of Special Master)). And this is not the first action in
                                                                                         7    which Defendants demonstrated such contempt. See Verizon California Inc. v. OnlineNIC, Inc., 647

                                                                                         8    F. Supp. 2d 1110, 1114-21 (N.D. Cal 2009) (holding OnlineNIC in civil contempt for multiple violations

                                                                                         9    of court orders that flowed from OnlineNIC’s discovery abuses).
                                                                                         10          D.      Defendants     and    Other    Cybersquatters      Must     Be     Deterred   from    Future
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                                                                                         11                  Cybersquatting

                                                                                         12          In drafting the ACPA, Congress expressly provided for statutory damages to “provide clear
                                                                                         13   deterrence” against bad faith and abusive conduct. See S. Rep. 106-140, at 7-8 (1999) (stating “legislation
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                                                                                         14   is needed to clarify the rights of trademark owners with respect to bad faith, abusive domain name

                                                                                         15   registration practices, to provide clear deterrence to prevent bad faith and abusive conduct, and to provide
                                                                                         16   adequate remedies for trademark owners in those cases where it does occur”). Courts also have

                                                                                         17   recognized the deterrence goal in the ACPA’s statutory damages provisions. See, e.g., E. & J. Gallo

                                                                                         18   Winery, 286 F.3d at 278 (analogizing deterrent effect of the statutory damages provisions of the
                                                                                         19   Copyright Act to the ACPA); Kiva Kitchen & Bath v. Capital Distributing, Inc., 319 F. App’x 316, 320

                                                                                         20   (5th Cir. 2009) (noting that one goal of the ACPA’s statutory damages provision is “to discourage

                                                                                         21   wrongful conduct”); Pinehurst, Inc. v. Wick, 256 F. Supp. 2d 424, 432 (M.D.N.C. 2003) (quoting
                                                                                         22   discussion of the deterrent purpose within the congressional record). As the Supreme Court explained

                                                                                         23   with respect to the analogous statutory damages provision in the Copyright Act, an award of statutory

                                                                                         24   damages crafted to deter the infringing conduct will “vindicate the statutory policy.” F.W. Woolworth
                                                                                         25   Co. v. Contemporary Arts, Inc., 344 U.S. 228, 233 (1952).

                                                                                         26          The Court should send a clear signal to cybersquatters—including and especially to Defendants,

                                                                                         27   who willfully and flagrantly disregard United States laws and court orders—that such action will not be
                                                                                         28   tolerated. This signal should be even stronger when cybersquatting is being perpetrated by
                                                                                                                                             16
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                                                                                         1    ICANN-accredited registrars, like OnlineNIC and 35.CN, who are placed in a position of trust. See

                                                                                         2    Verizon California Inc. v. Lead Networks Domains Private Limited, No. CV 09-613-ABC (CWx),

                                                                                         3    2009 WL 10700112 at *9 (C.D. Cal. Feb. 17, 2009) (noting “the Registrar Defendants are abusing this
                                                                                         4    trust by registering and using domain names for their own benefit and pecuniary interest . . . [and] by

                                                                                         5    hiding the identities of other registrants”). An award of statutory damages should be substantial to deter

                                                                                         6    the conduct and vindicate the statutory policy.
                                                                                         7           E.      The Court Should Adopt the R&R’s Determination of Statutory Damages

                                                                                         8           Given the considerations above, the Court should adopt Judge van Keulen’s R&R relating to

                                                                                         9    statutory damages and award $3,135,000 under 15 U.S.C. § 1117(d), based on the following:
                                                                                         10          1.      $80,000 in statutory damages per infringing domain name for each of the following 10
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                                                                                         11   Infringing Domain Names involving typosquatting: face2bouk.com; facebux2.com; facekhook.com;

                                                                                         12   facessbook.com; faecb00k-page.com; faecbook-page.com; instaface.org; instakram.com; login-
                                                                                         13   1nstargram.com; and singin-1nstargram.com;
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                                                                                         14          2.      $85,000 in statutory damages per infringing domain name for each of the following 4

                                                                                         15   Infringing Domain Names that incorporate identical spellings of Plaintiffs’ Marks but do not include other
                                                                                         16   commonly-spelled      words:    facebook-alkamazasok.net;       iiinstagram.com;    facebook-pw.com;       and

                                                                                         17   www- instagram.net; and

                                                                                         18          3.      $95,000 in statutory damages per infringing domain name for each of the remaining 21
                                                                                         19   Infringing Domain Names that include correct spellings of Plaintiffs’ Marks and correct spellings of other

                                                                                         20   commonly-spelled words, including buyinstagramfans.com and www-facebook-pages.com.

                                                                                         21          Because 35.CN is the alter ego of the OnlineNIC Defendants (see SJ Order), the Court should
                                                                                         22   adopt the R&R and award statutory damages of $3,135,000 jointly and severally against all the Defendants

                                                                                         23   for their violations of the ACPA.

                                                                                         24   V.     PLAINTIFFS ARE ENTITLED TO ATTORNEYS’ FEES AND COSTS
                                                                                         25          This is an exceptional case entitling Plaintiffs their reasonable fees for the entire case. Section
                                                                                                                                  13
                                                                                         26   1117(a) permits a prevailing party to recover attorneys’ fees “in exceptional cases.” 15 U.S.C. § 1117(a).

                                                                                         27   13 There can be no reasonable dispute that Plaintiffs are the prevailing party in this action. See Mountz, Inc.
                                                                                              v. Ne. Indus. Bolting & Torque, LLC, No. 15-CV-04538-JD (MEJ), 2017 WL 780585, at *1 (N.D. Cal.
                                                                                         28
                                                                                                                                              17
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                                                                                         1    An exceptional case “is simply one that stands out from others with respect to the substantive strength of

                                                                                         2    a party’s litigating position (considering both the governing law and facts of the case) or the unreasonable

                                                                                         3    manner in which the case was litigated.” Octane Fitness, LLC v. ICON Health & Fitness, Inc., 572 U.S.
                                                                                         4    545, 554 (2014). District courts “should examine the ‘totality of the circumstances’ to determine if the

                                                                                         5    case was exceptional . . . using a preponderance of the evidence standard.” SunEarth, Inc. v. Sun Earth

                                                                                         6    Solar Power Co., Ltd., 839 F.3d 1179, 1181 (9th Cir. 2016) (en banc). In considering the “totality of the
                                                                                         7    circumstances,” courts can consider nonexclusive factors, including “frivolousness, motivation, objective

                                                                                         8    unreasonableness (both in the factual and legal components of the case) and the need in particular

                                                                                         9    circumstances to advance considerations of compensation and deterrence.” Id. (quoting Octane Fitness,
                                                                                         10   572 U.S. at 554 n.6).
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                                                                                         11          Here, the Court should adopt the R&R’s determination that this case is exceptional under 15 U.S.C.

                                                                                         12   § 1117(a) because “(1) . . . OnlineNIC and ID Shield engaged in significant litigation misconduct,
                                                                                         13   derailing discovery by spoliating evidence after this litigation began and after the Special Master was
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                                                                                         14   appointed, and (2) [the OnlineNIC] Defendants’ cybersquatting was egregious.” R&R at 32:5-8. Further,

                                                                                         15   the Court should award Plaintiffs their reasonable fees for the entire case.
                                                                                         16          To be sure, Judge van Keulen recommended that Plaintiffs are “only entitled to a partial recovery

                                                                                         17   of fees: Plaintiffs are awarded fees related to the proceedings before the Special Master and the Motion

                                                                                         18   for Sanctions.” R&R at 32:10-11. The R&R, however, concerned only the OnlineNIC Defendants (not
                                                                                         19   35.CN) and was issued nearly two years ago on March 28, 2022. Since then, the issuance of the R&R did

                                                                                         20   not deter Defendants from continuing to litigate this case in an unreasonable manner. Indeed, as discussed

                                                                                         21   below, Defendants persistently evaded and obstructed discovery, gave inaccurate responses to discovery
                                                                                         22   requests, took positions for which they would not (or could not) adduce evidence, attempted to re-litigate

                                                                                         23   issues already decided, and made misleading statements to the Court. Defendants’ collective exceptional
                                                                                                                                                                                                          14
                                                                                         24   conduct occurred at every stage of this litigation, including prior to filing, and continues to this day.
                                                                                         25   Jan. 27, 2017), report and recommendation adopted, No. 3:15-CV-04538-JD, 2017 WL 766598 (N.D.
                                                                                              Cal. Feb. 28, 2017) (finding plaintiff the prevailing party where it obtained a default judgment and
                                                                                         26   injunctive relief); see also Starbuzz Tobacco, Inc. v. Gold Star Tobacco, Inc., No. SACV 19-408 JVS
                                                                                              (DFMx), 2020 WL 3051359, at *2-3 (C.D. Cal. Apr. 16, 2020) (litigant was prevailing party where it
                                                                                         27   obtained judgment based on case-terminating sanction).
                                                                                              14 35.CN’s counsel failed to inform the Court of 35.CN’s name change despite being notified of this issue
                                                                                         28
                                                                                                                                             18
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                                                                                         1    Defendants’ relentless bad faith misconduct unnecessarily prolonged and complicated this litigation,

                                                                                         2    draining both Plaintiffs’ and the Court’s resources.

                                                                                         3            When considering the totality of the circumstances, awarding Plaintiffs their reasonable attorneys’
                                                                                         4    fees for the entire case is necessary and appropriate to compensate Plaintiff and deter Defendants. See,

                                                                                         5    e.g., San Diego Comic Convention v. Dan Farr Prods., 807 F. App’x 674, 676 (9th Cir. 2020) (holding

                                                                                         6    district court did not abuse discretion in awarding fees for entire case where “Defendants’ exceptional
                                                                                         7    conduct occurred at every stage of this litigation, including prior to filing, and that such conduct caused

                                                                                         8    [plaintiff] to expend unnecessary legal fees and the court to squander limited judicial resources throughout

                                                                                         9    the duration of the case”); Kilopass Tech., Inc. v. Sidense Corp., 82 F. Supp. 3d 1154, 1166 (N.D. Cal.
                                                                                         10   2015) (analyzing analogous fee-shifting provision under Section 285 of the Patent Act) (“[T]here is
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                                                                                         11   nothing in the legislative history or applicable case law to suggest that—once a determination that a case

                                                                                         12   is ‘exceptional’ has been made—courts should balk at awarding full fees.”). Plaintiffs therefore
                                                                                         13   respectfully request all their reasonable attorneys’ fees incurred in this action be awarded under
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                                                                                         14   15 U.S.C. § 1117(a).

                                                                                         15           A.      Defendants’ Lanham Act Violations were Willful
                                                                                         16           A case may be exceptional based on a finding of “willful” Lanham Act violations, warranting an

                                                                                         17   award of attorneys’ fees. Jason Scott Collection, Inc. v. Trendily Furniture, LLC, 68 F.4th 1203, 1223

                                                                                         18   n.13 (9th Cir. 2023) (“Previously, the Ninth Circuit’s test required a plaintiff to show that a defendant
                                                                                         19   engaged in ‘malicious, fraudulent, deliberate, or willful infringement’ [to demonstrate an exceptional

                                                                                         20   case.] . . . Because the SunEarth test is less stringent than the previous ‘willful infringement’ standard, it

                                                                                         21   stands to reason that . . . willful infringement would satisfy the SunEarth test.”). On default, allegations
                                                                                         22   of willful infringement are deemed true and entitle a plaintiff to attorneys’ fees. See Derek Andrew, Inc.

                                                                                         23   v. Poof Apparel Corp., 528 F.3d 696, 702 (9th Cir. 2008) (finding that because “[t]he district court entered

                                                                                         24   default . . . [and] all factual allegations in the complaint are deemed true, including the allegation of Poof’s
                                                                                         25   willful infringement of Andrew’s trademarks,” the “default sufficiently establishes . . . entitlement to

                                                                                         26   attorneys’ fees under the Lanham Act”).

                                                                                         27
                                                                                         28   three times over the past 2 weeks. Guye Decl. ¶¶ 3-4, 6-7.
                                                                                                                                              19
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                                                                                         1           Defendants are in default. As such, Defendants cannot contest that they registered, used, or

                                                                                         2    trafficked in 35 domain names that are identical or confusingly similar to Plaintiffs’ Marks with a bad

                                                                                         3    faith intent to profit in violation of the ACPA. SAC ¶¶ 56-57, 87. Moreover, Defendants’ and their
                                                                                         4    Licensees’ cybersquatting was willful and deliberate. Id. ¶¶ 60-66, 69, 136. As significantly, Defendants

                                                                                         5    intentionally hid the identity of their Licensees even after Plaintiffs sent notice of the cybersquatting. Id.

                                                                                         6    ¶¶ 71-75. Accordingly, Judge van Keulen found Defendants’ cybersquatting, as alleged in the complaint,
                                                                                         7    to be “egregious.” R&R at 24. The willful infringement of Plaintiffs’ trademarks supports a finding that

                                                                                         8    this case is exceptional. See Mountz, Inc. v. Ne. Indus. Bolting & Torque, LLC, No. 15-CV-04538-JD

                                                                                         9    (MEJ), 2017 WL 780585, at *2 (N.D. Cal. Jan. 27, 2017), report and recommendation adopted, No. 3:15-
                                                                                         10   CV-04538-JD, 2017 WL 766598 (N.D. Cal. Feb. 28, 2017) (“[T]he substantive strength of Plaintiff’s
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                                                                                         11   litigating position (considering both the governing law and the facts of the case) and the weakness of

                                                                                         12   Defendant’s position was established on default judgment.”); ADG Concerns, Inc. v. Tsalevich LLC, No.
                                                                                         13   18-CV-00818-NC, 2018 WL 4241967, at *13 (N.D. Cal. Aug. 31, 2018), report and recommendation
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                                                                                         14   adopted, No. 18-CV-00818-JSW, 2018 WL 6615139 (N.D. Cal. Nov. 1, 2018) (“Courts applying the

                                                                                         15   Octane Fitness analysis commonly find that willful infringement, in conjunction with non-participation
                                                                                         16   in litigation, makes a case ‘exceptional.’”) (collecting cases).

                                                                                         17          B.      Defendants Litigated in an Unreasonable Manner

                                                                                         18          A case may qualify as exceptional based on the “unreasonable manner” in which a party has
                                                                                         19   litigated. “Courts awarding attorneys’ fees due to the losing party’s unreasonable manner of litigation

                                                                                         20   generally have pointed to egregious behavior.” Teetex LLC v. Zeetex, LLC, No. 20-CV-07092-JSW, 2022

                                                                                         21   WL 2439176, at *2 (N.D. Cal. July 5, 2022). “‘Egregious behavior’ supporting an award for litigation
                                                                                         22   misconduct ‘generally involves unethical or unprofessional conduct by a party or his attorneys during the

                                                                                         23   course of adjudicative proceedings.’” Id. (quoting Pac. Coast Bldg. Prod., Inc. v. CertainTeed Cypsum,

                                                                                         24   Inc., No. 18-cv-000346-LHK, 2021 WL 75755, at *4 (N.D. Cal. Jan. 7, 2021)). By way of illustration, in
                                                                                         25   San Diego Comic Convention, the Ninth Circuit held that the district court did not abuse its discretion in

                                                                                         26   deeming a case “exceptional” and granting an award of attorneys’ fees where the court focused on the

                                                                                         27   “unreasonable manner” in which Defendants litigated the case and “highlight[ed] Defendants’ failure to
                                                                                         28   comply with court rules, persistent desire to re-litigate issues already decided, advocacy that veered into
                                                                                                                                             20
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                                                                                         1    ‘gamesmanship,’ and unreasonable responses to the litigation.” 807 Fed. App’x at 676.

                                                                                         2           The egregious mass spoliation of evidence that occurred in this case is well-documented and need

                                                                                         3    not be repeated here. ECF No. 115 at 39:11-41:5. Judge van Keulen concluded, “OnlineNIC and ID Shield
                                                                                         4    have lied to Plaintiffs and the Special Master, destroyed evidence before and after this case began, and

                                                                                         5    impeded resolution of this case by failing to make complete and timely productions to Plaintiffs and the

                                                                                         6    Special Master.” R&R at 20:16-19. Based on the spoliation of evidence, Judge van Keulen already found
                                                                                         7    this case to be exceptional under 15 U.S.C. § 1117(a) and recommended that Plaintiffs be awarded their
                                                                                                                                                                         15
                                                                                         8    fees related to the OnlineNIC Defendants’ misconduct. R&R at 32:8-11.

                                                                                         9           Despite the serious implications of the Special Master’s Report, Defendants continued to litigate
                                                                                         10   this case in an unreasonable manner. Following the issuance of the Special Master’s Report, the
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                                                                                         11   OnlineNIC Defendants failed to appear at the 30(b)(6) deposition of ID Shield on July 15, 2021 (see ECF

                                                                                         12   No. 359 (Declaration of Howard A. Kroll) at ¶ 68, Ex. 42); represented that they “could no longer afford
                                                                                         13   to defend the case and that they intend to cease business operations on July 25, 2021” (see, e.g., ECF Nos.
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                                                                                         14   118 at 3:23-25, 4:11-15; 121 at 2:21-23); did not object to the Special Master’s Report (ECF No. 126);

                                                                                         15   and began dissipating assets, which resulted in the issuance of a Temporary Restraining Order. ECF No.
                                                                                         16   132. All of this was done before 35.CN’s entry to this case. After 35.CN was served, and despite their

                                                                                         17   prior assertions to the contrary, the OnlineNIC Defendants continued participating in this litigation by

                                                                                         18   withdrawing their non-opposition to the motion for terminating sanctions (ECF No. 185), seeking to join
                                                                                         19   in 35.CN’s motion to dismiss (ECF No. 184), and moving for de novo review of the R&R (ECF No. 229).
                                                                                                                                                                        16
                                                                                         20          35.CN was also persistently evasive and obstructive in discovery, prompting numerous discovery

                                                                                         21
                                                                                              15 35.CN is equally culpable for the OnlineNIC Defendants’ spoliation. This Court concluded that “the
                                                                                         22
                                                                                              OnlineNIC defendants engaged in egregious spoliation of evidence” and that it would “be inequitable to
                                                                                         23   allow 35.CN to escape the consequences of the evidence spoliation that its own employees apparently
                                                                                              carried out.” SJ Order at 20:2-9.
                                                                                              16 Plaintiffs’ discovery requests, which focused on payments between 35.CN and OnlineNIC, loans to
                                                                                         24
                                                                                              OnlineNIC by individuals connected with 35.CN, and a description of the work 35.CN employees
                                                                                         25   performed for OnlineNIC, was in response to the Court having ordered the parties to proceed with
                                                                                              discovery on alter ego. See ECF No. 207 at 8-9 (finding, inter alia, that Plaintiffs had raised “serious
                                                                                         26   questions” regarding the alter ego relationship between 35.CN and the other defendants and ordered that
                                                                                              “the parties shall proceed with discovery, including fact finding into issues regarding general and specific
                                                                                         27   jurisdiction”); see also ECF No. 226 at 6 (“[T]here are serious allegations of spoliation of evidence against
                                                                                              [the OnlineNIC Defendants] . . . . To understand whether these allegations extend to 35.CN and how, if at
                                                                                         28   all, they impact 35.CN, additional non-bifurcated discovery is required including with respect to the issue
                                                                                              of alter ego.”)).
                                                                                                                                             21
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                                                                                         1    disputes (see, e.g., ECF Nos. 237, 247, 258, 263, 269, 281), which ultimately resulted in Judge Tse’s

                                                                                         2    partial grant of Plaintiffs’ motion to compel. ECF No. 286. Additionally, 35.CN consistently

                                                                                         3    overdesignated    its   discovery   material—including     even    publicly    available   information—as
                                                                                         4    CONFIDENTIAL or AEO, requiring Plaintiffs to unnecessarily expend additional time and resources to

                                                                                         5    file numerous pleadings under seal. This Court ultimately found that 35.CN’s motions to seal were

                                                                                         6    “overbroad and unsupported.” ECF No. 353 at 3:17.
                                                                                         7           35.CN also demonstrated a “persistent desire to re-litigate issues already decided.” San Diego

                                                                                         8    Comic Convention, 807 F. App’x. at 676. For example, 35.CN continued to dispute the spoliation of

                                                                                         9    evidence in opposition to Meta’s motion for summary judgment, arguing that the OnlineNIC Defendants
                                                                                         10   “did not destroy evidence and that any destruction was not intentional.” SJ Order at 19:4. The Court
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                                                                                         11   specifically found that “[t]his position directly contravenes the special master’s findings, as adopted by

                                                                                         12   both Judge van Keulen and this Court.” Id. at 19:8-10.
                                                                                         13          35.CN also continued to re-litigate issues relating to the merits of Plaintiffs’ claims that have
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                                                                                         14   previously been addressed by this Court. In its motion to dismiss, 35.CN argued that the issue of whether

                                                                                         15   ID Shield offers a privacy or proxy service was dispositive of this case. See ECF No. 174. In the order
                                                                                         16   denying 35.CN’s motion to dismiss, the Court rejected this argument. ECF No. 207 at 9. Yet, 35.CN raised

                                                                                         17   this issue again and again, in its motion to bifurcate and stay discovery (ECF No. 213 at 3) and in its

                                                                                         18   motion for de novo review of the R&R. ECF No. 228 at 7:3-8:8. The Court noted: “Each time 35.CN has
                                                                                         19   raised the issue the Court has rejected it because, as discussed in the Court’s Order on the Motion to

                                                                                         20   Dismiss and the Order on the Motion to Bifurcate, the Proxy Service Issue is not dispositive.” Order

                                                                                         21   Adopting R&R at 13:20-22.
                                                                                         22          Similarly, 35.CN continued to make merits-related arguments, including, for example, arguments

                                                                                         23   related to the adequacy of Plaintiffs’ “notices” to ID Shield containing “reasonable evidence of actionable

                                                                                         24   harm” as described in Section 3.7.7.3 of the RAA. See generally, ECF No. 238 (35.CN’s Motion for
                                                                                         25   Evidentiary Hearing); see also ECF No. 365 (35.CN’s portion of Case Management Conference) at

                                                                                         26   5:16-6:11. The Court denied 35.CN’s motion for an evidentiary hearing on this issue. See ECF No. 252 at

                                                                                         27   4:1. Moreover, this merits-based argument “completely misses the point that ID Shield and OnlineNIC
                                                                                         28   actively destroyed and concealed mass amounts of evidence. . . .” Order Adopting R&R at 13:17-18.
                                                                                                                                             22
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                                                                                         1    Liability has been established as to OnlineNIC and ID Shield for their underlying cybersquatting because

                                                                                         2    they are in default. Despite this, 35.CN continued to improperly advance merits-based arguments as to the

                                                                                         3    OnlineNIC Defendants’ liability.
                                                                                         4           Accordingly, Defendants’ collective litigation misconduct—both before and after the issuance of

                                                                                         5    the R&R—entitles Plaintiffs to their reasonable attorneys’ fees for the entire case.

                                                                                         6           C.      Defendants Failed to Support Their Defenses
                                                                                         7           A case may also be exceptional where a party “persists with a clearly untenable claim, or adduces

                                                                                         8    no evidence in support of its position.” Location Based Servs., LLC v. Niantic, Inc., No. 17-cv-04413-NC,

                                                                                         9    2018 WL 7569160, at *1 (N.D. Cal. Feb. 16, 2018) (collecting cases); see, e.g., Pop Top Corp. v. Rakuten
                                                                                         10   Kobo Inc., No. 20-cv-04482-DMR, 2022 WL 267407, at *4 (N.D. Cal. Jan. 28, 2022) (concluding that
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                                                                                         11   plaintiff’s case was objectively unreasonable and substantively weak, noting that “the record establishes

                                                                                         12   that [plaintiff] never advanced factual support for its position that the Kobo App infringed claim 1 of the
                                                                                         13   ‘623 patent,” and “[a]t the end of the day, [plaintiff] never offered evidence supporting its claim”).
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                                                                                         14          Despite adamantly contesting alter ego liability for nearly two years, 35.CN ultimately failed to

                                                                                         15   submit any admissible or credible evidence disputing its alter ego relationship with the OnlineNIC
                                                                                         16   Defendants. Instead, in opposition to summary judgment, 35.CN relied on “a handful of paragraphs from

                                                                                         17   two declarations” (one of which being a declaration from Ms. Carrie Yu recanting her prior deposition

                                                                                         18   testimony) to oppose summary judgment. See SJ Order at 6-7, n.3. This Court found:
                                                                                         19                  [M]uch of 35.CN’s “evidence” is actually inadmissible; 35.CN does not
                                                                                                             rebut much of the evidence that plaintiffs have presented; and 35.CN’s
                                                                                         20                  briefs make sweeping assertions that are unsupported by any evidence.
                                                                                                             35.CN’s inability to be forthcoming on basic questions, such as who
                                                                                         21                  purchased OnlineNIC from the companies’ shared founder, have created a
                                                                                                             maze for the Court to navigate.
                                                                                         22
                                                                                              SJ Order at 6:21-6:25. 35.CN’s failure to adduce any evidence in support of its defenses justifies awarding
                                                                                         23
                                                                                              Plaintiffs’ reasonable attorneys’ fees for the entire case.
                                                                                         24
                                                                                                     D.      Compensation and Deterrence
                                                                                         25
                                                                                                     Attorneys’ fees should also be granted to “advance [the] considerations of compensation and
                                                                                         26
                                                                                              deterrence” espoused in Octane Fitness. See San Diego Comic Convention, 807 F. App’x at 676. Here,
                                                                                         27
                                                                                              Defendants have engaged in gross misconduct and “demonstrated contempt of these proceedings.” See
                                                                                         28
                                                                                                                                              23
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                                                                                         1    R&R at 26:18-21. Defendants’ misconduct has continued unabated for more than four years. Defendants

                                                                                         2    have unnecessarily prolonged and complicated these proceedings, draining Plaintiffs’ and the Court’s

                                                                                         3    resources. Equally important, absent awarding fees, there will be no disincentive for Defendants or future
                                                                                         4    litigants to engage in similar misconduct in the future. Thus, an award of Plaintiffs’ reasonable attorneys’

                                                                                         5    fees for the entire case, in an amount to be determined, is warranted.

                                                                                         6    VI.    PLAINTIFFS ARE ENTITLED TO A PERMANENT INJUNCTION
                                                                                         7           “It is appropriate to grant an injunction on an application for default judgment” consistent with

                                                                                         8    the demands of the Complaint. Craigslist, Inc. v. RealWorks Group LLC, No. C 08–05072 JW, 2009 WL

                                                                                         9    10692489, at *5 (N.D. Cal. Oct. 29, 2009); SAC ¶¶ 100, 110, 120, 134. Injunctive relief is specifically
                                                                                         10   authorized under 15 U.S.C. §1116(a) to prevent violations under the ACPA. Moreover, “[i]njunctive
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                                                                                         11   relief is the remedy of choice for trademark and unfair competition cases, since there is no adequate

                                                                                         12   remedy at law for the injury caused by defendant’s continuing infringement.” Century 21 Real Estate
                                                                                         13   Corp. v. Sandlin, 846 F.2d 1175, 1180 (9th Cir. 1988); Bellagio v. Denhammer, No. CV-S-00-1475-
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                                                                                         14   RLH-PAL, 2001 WL 34036599 (D. Nev. Jul. 10, 2001) (granting plaintiff permanent injunction

                                                                                         15   prohibiting Defendants from registering any other domain names that contain the Plaintiff’s mark or
                                                                                         16   variations thereof). Courts have granted injunctive relief even in situations of default. See, e.g.,

                                                                                         17   PepsiCo., Inc. v. California Security Cans, 238 F. Supp. 2d 1172, 1177 (C.D. Cal. 2002); Lifted Research

                                                                                         18   Group, Inc. v. Salem, 2009 WL 1371416 at *1 (N.D. Cal. May 15, 2009); Jackson v. Sturkie,
                                                                                         19   255 F. Supp. 2d 1096, 1103 (N.D. Cal. 2003). This “remedy of choice” is appropriate when (1) the

                                                                                         20   plaintiff risks suffering irreparable harm; (2) monetary remedies are inadequate to compensate for

                                                                                         21   plaintiff’s injury; (3) the balance of hardships favors the plaintiff; and (4) the public interest would not
                                                                                         22   be disserved by an injunction. eBay Inc. v. MercExchange, LLC, 547 U.S. 388, 391 (2006). Here each

                                                                                         23   factor favors an injunction.

                                                                                         24          As to the first two factors, Plaintiffs are presumed as a matter of law to have suffered—and to
                                                                                         25   continue to suffer—irreparable harm to their reputation and goodwill. 15 U.S.C. § 1116(a); Vineyard

                                                                                         26   House, LLC v. Constellation Brands U.S. Operations, Inc., No. 4:19-cv-01424-YGR, 2021 WL 254448,

                                                                                         27   at *14 n.16 (N.D. Cal. Jan. 26, 2021) (discussing December 27, 2020 amendment to 15 U.S.C. § 1116 to
                                                                                         28   create a rebuttable presumption of irreparable harm); SAC ¶¶ 98, 108, 120, and 132. As to the next factor,
                                                                                                                                             24
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                                                                                         1    the balance of hardships tips sharply in Plaintiffs’ favor. “It is no hardship to cease intentionally

                                                                                         2    infringing someone else’s trademark rights.” Diller v. Barry Driller, Inc., No. CV 12-7200 ABC EX,

                                                                                         3    2012 WL 4044732 at *10 (C.D. Cal. Sept. 10, 2012); see also Cisco Sys., Inc. v. Shenzhen Usource Tech.
                                                                                         4    Co., No. 5:20-cv-04773-EJD, 2020 WL 5199434 at *9 (N.D. Cal. Aug. 17, 2020) (“Where the only

                                                                                         5    hardship that the defendant will suffer is lost profits from an activity which has been shown likely to be

                                                                                         6    infringing, such an argument in defense merits little equitable consideration.”) (quotation marks omitted).
                                                                                         7    Finally, the public interest would be served by an injunction because there is strong public interest in

                                                                                         8    preventing consumer confusion. “Public interest can be defined a number of ways, but in a trademark

                                                                                         9    case, it is most often a synonym for the right of the public not to be deceived or confused.” Opticians
                                                                                         10   Ass’n of Am. v. Independent Opticians of Am., 920 F.2d 187, 197 (3d Cir. 1990); see also Internet
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                                                                                         11   Specialties W., Inc. v. Milon-Digiorgio Enters., 559 F.3d 985, 993-94 (9th Cir. 2009). A permanent

                                                                                         12   injunction is thus warranted.
                                                                                         13          Therefore, Plaintiffs respectfully request that this Court enter a permanent injunction enjoining
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                                                                                         14   Defendants, and those working in concert with Defendants, from: (a) registering, trafficking in, or using,

                                                                                         15   in any manner, any Internet domain name that incorporates, in whole or in part, Plaintiffs’ Marks, or any
                                                                                         16   name, mark, or designation confusingly similar thereto; (b) using Plaintiffs’ Marks, or any other name,

                                                                                         17   mark, designation, or depiction in a manner that is likely to cause confusion regarding whether Defendants

                                                                                         18   are affiliated or associated with or sponsored by Plaintiff; or (c) assisting, aiding, or abetting any other
                                                                                         19   person or business entity in engaging in or performing any of these activities. Plaintiffs also request that

                                                                                         20   this Court order Defendants, and those working in concert with them, to: (a) relinquish all rights, title, and

                                                                                         21   interest in all domain names under their control that are identical or confusingly similar to
                                                                                         22   Plaintiffs’ Marks, including the Infringing Domain Names, and to transfer those domain names to

                                                                                         23   Plaintiffs, and (b) provide relevant information to Plaintiffs to ensure compliance with the permanent

                                                                                         24   injunction.
                                                                                         25   VII.   CONCLUSION

                                                                                         26          For the reasons set forth above, and as expressed in the Proposed Default Judgment lodged

                                                                                         27   concurrently with Plaintiffs’ Motion, the Court should enter default judgment jointly and severally against
                                                                                         28   the Defendants.
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                                                                                                                       MOTION FOR DEFAULT JUDGMENT AND MEMORANDUM IN SUPPORT OF MOTION
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                                                                                         2    DATED: January 31, 2024                     Tucker Ellis LLP
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                                                                                                                                          By: /s/David J. Steele
                                                                                         5                                                    David J. Steele
                                                                                         6                                                    Howard A. Kroll
                                                                                                                                              Steven E. Lauridsen
                                                                                         7                                                    Attorneys for Plaintiffs,
                                                                                                                                              META PLATFORMS, INC. (fka
                                                                                         8                                                    FACEBOOK, INC.) and INSTAGRAM, LLC
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